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                                                                       United States Bankruptcy Court
                                                                               Western District of Oklahoma
  In re       Alexander Louis Bednar                                                                                            Case No.
                                                                                                  Debtor(s)                     Chapter       13

                                                                                        CHAPTER 13 PLAN
                                                                                     Check if this is an amended plan


1. NOTICES:

To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate
            that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that do not comply
            with local rules and judicial rulings may not be confirmable.

                    In the following notice to creditors, you must check each box that applies.

To: Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified or eliminated.

                    You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
                    attorney, you may wish to consult one.

                    If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                    confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy Court.
                    The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule
                    3015. In addition, you must file a timely proof of claim in order to be paid under any plan.

 The plan contains nonstandard provisions set out in Section 10.                                                                                   Yes                No
 The plan limits the amount of a secured claim based on a valuation of the collateral in accordance with Section                                   Yes                No
 5.C.(2)(b).
 The plan avoids a security interest or lien in accordance with Section 9.                                                                         Yes                No

2. PAYMENTS TO THE TRUSTEE: The Debtor (or the Debtor’s employer) shall pay to the Trustee the sum of $2,264.00 per month for 60
   months. If the plan payment structure is in the form of step payments, the payment structure is indicated below. Plan payments to the Trustee shall
   commence on or before 30 days after the Chapter 13 Petition is filed. The Debtor shall turn over such additional funds as required by law and/or
   any Court Order.

    Step payments                                 $

   Minimum total of plan payments: $135,840.00

   The Debtor intends to pay plan payments:
     Direct or
     By wage deduction from employer of:                                                 Debtor
                                                                                         Joint Debtor

    Debtor's Pay Frequency:                   Monthly                   Semi-monthly (24 times per            Bi-weekly (26 times per year)    Weekly              Other
                                                                     year)

    Joint Debtor's Pay Frequency:                     Monthly                   Semi-monthly (24 times per          Bi-weekly (26 times per         Weekly             Other
                                                                             year)                               year)

3. PLAN LENGTH: This plan is a 60 month plan.

4. GENERAL PROVISIONS:

   a. As used herein, the term "Debtor" shall include both Debtors in a joint case.

   b. Student loans are non-dischargeable unless determined in an adversary proceeding to constitute an undue hardship under 11 U.S.C. §523(a)(8).

   c. The Trustee will make no disbursements to any creditor until an allowed proof of claim has been filed. In the case of a secured claim, the party
      filing the claim must attach proper proof of perfection of its security interest as a condition of payment by the Trustee.


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   d. Creditors not advising the Trustee of address changes may be deemed to have abandoned their claims.

   e. All property shall remain property of the estate and shall vest in the Debtor only upon dismissal, discharge, conversion or other specific Order of
      the Court. The Debtor shall be responsible for the preservation and protection of all property of the estate not transferred to and in the actual
      possession of the Trustee.

   f. The debtor is prohibited from incurring any debts except such debts approved pursuant to the Court’s directives or as necessary for medical or
      hospital care.

5. DISBURSEMENTS TO BE MADE BY TRUSTEE:

   A. ADMINISTRATIVE EXPENSES:
     (1) Estimated Trustee's Fee: 6.3%
     (2) Attorney's Fee (unpaid portion): $1,000.00 to be paid through plan in monthly payments
     (3) Filing Fee (unpaid portion): $None

   B. PRIORITY CLAIMS UNDER 11 U.S.C. § 507:

      (1) DOMESTIC SUPPORT OBLIGATIONS:

           (a) Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim.

           (b) The name(s) of the holder(s) of any domestic support obligation are as follows:


           (c) Anticipated Domestic Support Obligation Arrearage Claims. Unless otherwise specified in this Plan, priority claims under 11 U.S.C. §
           507(a)(1) will be paid in full pursuant to 11 U.S.C. § 1322(a)(2). These claims will be paid at the same time as secured claims. Any allowed
           claim for a domestic support obligation that remains payable to the original creditor shall be paid in full pursuant to the filed claim, unless
           limited by separate Court Order or filed Stipulation.

                Arrearage shall be paid through wage assignment, pursuant to previous Order entered by a non-bankruptcy Court.

                Arrearage shall be paid in full through the plan.

 Name                                                                Estimated arrearage claim            Projected monthly arrearage payment in plan
 -NONE-

           (d) Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support obligation claims are assigned to, owed to, or recoverable by
           a governmental unit, and shall be paid as follows:

             Claimant and proposed treatment:

      (2) OTHER PRIORITY CLAIMS:

           (a) Pre-petition and/or post-petition priority tax claims shall be paid in full pursuant to the filed claim unless limited by separate Court Order
           or filed Stipulation.

 Name                                                                                                                                       Amount of Claim
 -NONE-

           (b) All other holders of priority claims listed below shall be paid in full as follows:

 Name                                                                                                                                       Amount of Claim
 Internal Revenue Service                                                                                                                      $32,000.00
 Jill Bednar                                                                                                                                   $90,000.00
 Oklahoma County Treasurer                                                                                                                      $4,000.00

   C. SECURED CLAIMS:

   (1) PRE-CONFIRMATION ADEQUATE PROTECTION: Pre-confirmation adequate protection payments to the following Creditors holding
   allowed claims secured by a purchase money security interest in personal property shall be paid by the Trustee through the plan as provided below.
   Adequate protection payments shall not be paid until the Creditor files a proof of claim, with proper proof of security attached.

 Name                                                                Collateral Description                       Pre-Confirmation Monthly Payment
 -NONE-


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   (2) SECURED DEBTS WHICH WILL NOT EXTEND BEYOND THE LENGTH OF THE PLAN:

        (a) SECURED CLAIMS NOT SUBJECT TO VALUATION: Secured creditors with a purchase money security interest securing a debt
        either incurred within the 910-day period preceding the filing of the bankruptcy petition where the collateral is a motor vehicle acquired for
        personal use, or incurred within the 1-year period preceding the bankruptcy petition where the collateral is any other thing of value, shall be
        paid in full with interest at the rate stated below. The amount stated on an allowed proof of claim controls over any contrary amount listed
        below.

 Name                                                  Collateral Description           Estimated Amount of           Monthly Payment          Interest Rate
                                                                                        Claim
 -NONE-                                                                                                                                                        %

        (b) SECURED CLAIMS SUBJECT TO VALUATION: All other secured creditors, except secured tax creditors, shall be paid the proposed
        secured value with interest in the amounts stated below. To the extent the proposed secured value exceeds the secured claim, only the claim
        amount, plus interest shall be paid. Secured tax claims shall be paid as filed unless limited by separate Court Order.
        NOTE: The valuation of real estate requires the filing of a motion to determine value and the entry of a separate Court Order before any
        proposed secured value of real estate stated below may be approved.

 Name                                                  Collateral Description           Proposed Secured Value        Monthly Payment          Interest Rate
 -NONE-                                                                                                                                                        %

   (3) DEBTS SECURED BY PRINCIPAL RESIDENCE WHICH WILL EXTEND BEYOND THE LENGTH OF THE PLAN
   (LONG-TERM DEBTS):

 Name                                 Collateral Description                    *Monthly          1st Post-petition    *Estimated Amt of            Interest on
                                                                                Ongoing Pymt      Payment              Arrearage                    Arrearage
 -NONE-                                                                                                                                                            %

*The “1st post-petition payment” is the monthly ongoing mortgage payment which comes due between the petition date and the due date of the first
plan payment. The arrearage amounts, monthly ongoing payment, and 1st post-petition payment are estimated and will be paid according to the
amount stated on the claim unless objected to and limited by separate Court Order. The interest rate to be paid on the arrearage and the 1st
post-petition payment is reflected above.

   (4) OTHER SECURED DEBTS WHICH WILL EXTEND BEYOND THE LENGTH OF THE PLAN (LONG-TERM DEBTS):

 Name                                 Collateral Description                *Monthly Ongoing      1st Post-petition   *Estimated Amt of          Interest on
                                                                            Pymt                  Payment             Arrearage                  Arrearage

 -NONE-                                                                                                                                                            %

 *The “1st post-petition payment” is the monthly ongoing payment which comes due between the petition date and the due date of the first plan
payment. The arrearage amounts, monthly ongoing payment, and 1st post-petition payment are estimated and will be paid according to the amount
stated on the claim unless objected to and limited by separate Court Order. The interest rate to be paid on the arrearage and the 1st post-petition
payment is reflected above.

   D. UNSECURED CLAIMS:

        (1) Special Nonpriority Unsecured claims shall be paid in full plus interest at the rate stated below, as follows:

 Name                                                                     Amount of Claim                              Interest Rate
 -NONE-                                                                                                                                      %

        (2) General Nonpriority Unsecured: Other unsecured creditors shall be paid pro-rata approximately 0.00 percent, unless the plan guarantees a
            set dividend as follows:

             Guaranteed dividend to non-priority unsecured creditors: $282.24

6. DIRECT PAYMENTS BY DEBTOR: The Debtor shall make regular payments directly to the following creditors:

 Name                                                         Amount of Claim               Monthly Payment            Collateral Description if Applicable
 -NONE-

NOTE: Direct payment will be allowed only if the debtor is current on the obligation, the last payment on the obligation comes due after the last
payment under this plan, and no unfair preference is created by the direct payment.

7. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: The plan rejects all executory contracts and unexpired leases, except as follows:

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 Name                                                                 Description of Contract or Lease
 -NONE-

8. SURRENDERED PROPERTY: The following property is to be surrendered to the secured creditor, with a deficiency allowed, unless specified
otherwise. The Debtor requests the automatic stay be terminated as to the surrendered collateral upon entry of Order Confirming Plan or other Order
of the Court.

 Name                                                                 Amount of Claim              Collateral Description
 -NONE-

9. LIEN AVOIDANCE: No lien will be avoided by the confirmation of this plan. Liens may be avoided only by separate Court Order, upon proper
Motion including reasonable notice and opportunity for hearing.

Liens Debtor intends to avoid:

 Name                                                                 Amount of Claim              Description of Property
 -NONE-

10. NONSTANDARD PLAN PROVISIONS: Any nonstandard provision placed elsewhere in this plan is void.




  By checking this box certification is made by the Debtor, if not represented by an attorney, or the Attorney for Debtor, that the plan contains no
nonstandard provision other than those set out in this paragraph.


 Date        July 11, 2019                                           Signature    /s/ Alexander Louis Bednar
                                                                                  Alexander Louis Bednar
                                                                                  Debtor
 Date                                                                Signature
                                                                                  Joint Debtor

 /s/ Stephen A. Harry
 Attorney for Debtor(s) Signature
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